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                        UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.                )   Case No.: 1:18-cv-192-LEK-KSC
                                        )   (Copyright)
                                        )
                     Plaintiffs,        )   SUPPLEMENTAL
      vs.                               )   MEMORANDUM OF POINTS AND
                                        )   AUTHORITIES IN SUPPORT OF
   DOE 1 et al.                         )   PLAINTIFFS’ APPLICATION FOR
                                        )   ENTRY OF TEMPORARY
                     Defendants.        )   RESTRAINING ORDER AND
                                        )   PRELIMINARY INJUNCTION;
                                        )   DECLARATION OF COUNSEL;
                                        )   DECLARATION OF MICHAEL
                                        )   DANLEY
                                        )
                                        )

    SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN
       SUPPORT OF PLAINTIFFS’ APPLICATION FOR TEMPORARY
         RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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  I.    BRIEF INTRODUCTION
        This Court issued an order [Doc. #10] requesting Plaintiffs Venice PI, LLC,

  Headhunter LLC, MON LLC, LHF Productions, Inc., Cook Productions, LLC.,

  Glacier Films 1, LLC, Colossal Movie Productions, LLC, Automata Productions,

  Inc., Criminal Productions, Inc., Dallas Buyers Club, LLC, Clear Skies Nevada, LLC,

  Bodyguard Productions, Inc., I.T. Productions, LLC, SVC Productions, Inc.,

  Splintered, LLC, Cobbler Nevada, LLC, Justice Everywhere Productions, Inc.,

  (collectively “Plaintiffs”) to supplement their motion for a temporary restraining

  order (TRO) filed on May 23, 2018 [Doc. #4]. Specifically, the Court directed

  Plaintiff to supplement the TRO motion with counsel’s written certification

  addressing the requirements in Rule 65(b)(1)(B).      Accordingly, Plaintiffs have

  submitted the Declarations of Counsel and of Michael Danley. For the following

  reasons, the attached Declarations address the requirements of Rule 65(b)(1)(B). Fed

  R. Civ. P. 65(b).

  II. LEGAL STANDARD

        Rule 65(b)(1)(B) requires that “the movant's attorney certifies in writing any

  efforts made to give notice and the reasons why it should not be required.” Fed R.

  Civ. P. 65(b)(1)(B). Among the few circumstances in which Courts have justified

  the issuance of an Ex Parte TRO without notice is “where notice to the adverse party

  is impossible either because the identity of the adverse party is unknown or because

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  a known party cannot be located in time for a hearing.” Am. Can Co. v. Mansukhani,

  742 F.2d 314, 322 (7th Cir.1984). The Ninth Circuit followed this reasoning in Reno

  Air Racing Ass'n v. McCord when deciding that a TRO was improperly granted

  because Plaintiff failed to demonstrate that notice is impossible or fruitless, as

  required for an Ex Parte TRO. Reno Air Racing Ass'n v. McCord, 452 F.3d 1126,

  1131 (9th Cir. 2006) (finding that a TRO was improperly issued because notice to

  the adverse party was neither impossible nor would it render the action fruitless

  (citing Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423 (1974)).

  III.    ARGUMENT

          According to regulations established by Internet Corporation for Assigned

  Names (hereafter: “ICANN”), an individual or entity which registers a domain name

  is required to provide complete and accurate registration information for the domain

  name.

          2. Your Representations. By applying to register a domain name, or by
          asking us to maintain or renew a domain name registration, you hereby
          represent and warrant to us that (a) the statements that you made in your
          Registration Agreement are complete and accurate...

  ICANN       Uniform     Domain     Name        Dispute   Resolution   Policy   ¶    2,

  https://www.icann.org/resources/pages/policy-2012-02-25-en, (last accessed May

  29, 2018). As explained in the Declaration of Counsel, Plaintiffs’ counsel has

  attempted to contact each of the Defendants at: (1) the email address Defendants


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  provided as registrant for the domain as required by ICANN; and (2) the email

  address for the registrar that sold the domain name registration and is providing

  hosting services to the Defendants. Plaintiffs’ counsel has yet to receive a reply from

  any of the Defendants.        However, Defendant DOE 1 removed the website

  http://showboxappdownload.com/ after Defendant sent an email message to

  SHOWBOXAPPDOWNLOAD.COM@domainsbyproxy.com.

         Further, with regards to Defendants DOES 2-4, Plaintiffs’ counsel hired a

  process server in California to attempt to serve notice of the motion for TRO and the

  complaint at the office address provided on their website. As explained in the

  Declaration of Michael Danley, the California address Defendants DOES 2-4

  prominently show on their website does not exist. Moreover, the entity “Showbox,

  Inc.” itself also does not appear to exist, unless it is incorporated in a foreign country.

        Finally, with regards to Defendant DOE 5, as shown in Exhibit 2 [Doc. #8-3]

  for Plaintiffs’ Motion for Leave [Doc. #8], Defendant DOE 5 is associated with the

  company Media Ingea SL Sociedad Limitada in Spain. Although Plaintiffs’ counsel

  sent an email to this company and to their Registrar providing notice of the motion

  for TRO, official service will have to be performed in accordance with the

  requirements Convention on the Service Abroad of Judicial and Extrajudicial

  Documents in Civil or Commercial Matters (hereafter: “Hague Service

  Convention”). To the extent that notification of the motion for TRO by email is not

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  sufficient, it will not be feasible to serve Media Ingea SL Sociedad Limitada in time

  for a hearing.

  IV.   CONCLUSION

        Accordingly, Plaintiffs have provided the certification of their efforts to

  contact the Defendants. Because Defendants DOES 1-4 and 6-10 continue to hide

  behind their anonymous registrants, notice is impossible either because the identity

  of the adverse party is unknown or because a known party cannot be located in time

  for a hearing. Moreover, because Defendant DOE 5 is located in Spain, it will not

  be possible to serve Defendant DOE 5 in time for a hearing. Accordingly, Plaintiffs

  respectfully request that the Court enter the proposed temporary restraining order

  and preliminary injunction.

        DATED: Kailua-Kona, Hawaii, June 3, 2018.


                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper
                                  Attorney for Plaintiffs




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